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    Fill in this information to identify your case:
    Debtor 1            Bridget            Surciretta              Taylor
                        First Name         Middle Name             Last Name

    Debtor 2
    (Spouse, if filing) First Name         Middle Name             Last Name

    United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

    Case number         21-50289                                                                                           0   Check if this is an
    (if known)
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15


If you are an individual filing under chapter 7, you must fill out this form if:

•    creditors have claims secured by your property, or

•     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


    Part 1:         List Your Creditors Who Hold Secured Claims

I.     For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
       fill in the information below.

       Identify the creditor and the property that is collateral         What do you intend to do with the           Did you claim the property
                                                                         property that secures a debt?               as exempt on Schedule C?

       Creditor's         Atlanta Postal Credit Union                        Surrender the property.                     No
       name:                                                                 Retain the property and redeem it.      121 Yes

       Description of     2015 Dodge Ram                                 EZI Retain the property and enter into a
       property                                                              Reaffirmation Agreement.
       securing debt:                                                    0 Retain the property and [explain]:

    Part 2:         List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

        Describe your unexpired personal property leases                                                            Will this lease be assumed?

        None.




Official Form 108                          Statement of Intention for Individuals Filing Under Chapter 7                                     page 1
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Debtor 1     Bridget Surgretta Taylor                                              Case number (if known)     21-50289

 Part 3:      Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.



                                                     X
     dget Surgretta aylor, Debtor 1                      Signature of Debtor 2

                                                         Date
                                                                MM / DD / YYYY




Official Form 108                      Statement of Intention for Individuals Filing Under Chapter 7                                page 2
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B2800 (Form 2800) (12/15)

                                           UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF GEORGIA
                                                   ATLANTA DIVISION

In re Bridget Surgretta Taylor                                        Case No.    21-50289

                                                                      Chapter     7
               Debtor


           DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER
            [Must be filed with the petition if a bankruptcy petition preparer prepares the petition. 11 U.S.C. § 110(h)(2).]

1. Under 11 U.S.C. § 110(h), I declare under penalty of perjury that I am not an attorney or employee of an attorney, that I
   prepared or caused to be prepared one or more documents for filing by the above-named debtor(s) in connection with this
   bankruptcy case, and that compensation paid to me within one year before the filing of the bankruptcy petition, or agreed to be
   paid to me, for services rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is
   as follows:
  For document preparation services, I have agreed to accept                            $300.00
  Prior to the filing of this statement I have received                                 $300.00
   Balance Due                                                                            $0.00

2. I have prepared or caused to be prepared the following documents (itemize):
   Petition, Exhibit D, Statement of Monthly Income, Statement of Financial Affairs, Schedules A-J, Statement of Intentions,
   Summary, Matrix, Notice

   and provided the following services (itemize):


3. The source of the compensation paid to me was:
          IZI Debtor                   0    Other (specify)

4. The source of compensation to be paid to me is:
               Debtor                  0    Other (specify)

5. The foregoing is a complete statement of any agreement or arrangement for payment to me for preparation of the petition
   filed by the debtor(s) in this bankruptcy case.

6. To my knowledge no other person has prepared for compensation a document for filing in connection with this bankruptcy
   case except as listed below:

   NAME                                                                               SOCIAL SECURITY NUMBER
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                                                                    Social Security number of bankruptcy                      Date
                                                                    petition preparer*


   Angela D. Forte, Petition Preparer                               POB 477
   Printed name and title, if any, of                               Redan, Georgia 30074
   Bankruptcy Petition Preparer                                     Address
* If the bankruptcy petition preparer is not an individual, state the Social Security number of the officer, principal, responsible
person or partner of the bankruptcy petition preparer. (Required by 11 U.S.C. § 110).

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure
may result in fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
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     Fill in this information to identify your case:                                            Check one box only as directed in this
                                                                                                form and in Form 122A-1Supp:
 Debtor 1             Bridget              Surgretta             Taylor
                      First Name            Middle Name          Last Name
                                                                                            o 1.There is no presumption of abuse.
 Debtor 2                                                                                   ▪    2.The calculation to determine if a presumption
 (Spouse, if filing) First Name             Middle Name          Last Name                         of abuse applies will be made under Chapter 7
                                                                                                   Means Test Calculation (Official Form 122A-2).
     United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA
                                                                                            o 3.The Means Test does not apply now because
 Case number          21-50289                                                                  of qualified military service but it could apply
 (if known)                                                                                     later.

                                                                                             o    Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                          04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


     Part 1:     Calculate Your Current Monthly Income

1.     What is your marital and filing status? Check one only.

            Not married. Fill out Column A, lines 2-11.

            Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

       El Married and your spouse is NOT filing with you. You and your spouse are:

            o    Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

            o   Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
                declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
                and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).




2.     Your gross wages, salary, tips, bonuses, overtime, and commissions                       $6,622.00
       (before all payroll deductions).

3.     Alimony and maintenance payments. Do not include payments from a spouse                       $0.00
       if Column B is filled in.

4.     All amounts from any source which are regularly paid for household                            $0.00
       expenses of you or your dependents, including child support. Include
       regular contributions from an unmarried partner, members of your household,
       your dependents, parents, and roommates. Include regular contributions from
       a spouse only if Column B is not filled in. Do not include payments you listed
       on line 3.




Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                           page 1
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Debtor 1       Bridget Surgretta Taylor                                                     Case number (if known) 21-50289




5.   Net income from operating a business, profession, or farm

                                              Debtor 1             Debtor 2

     Gross receipts (before all                      $0.00
     deductions)
     Ordinary and necessary operating     _          $0.00    —
     expenses
                                                                                     Copy
     Net monthly income from a business,             $0.00                           here .-)       $0.00
     profession, or farm

6.   Net income from rental and other real property
                                              Debtor 1             Debtor 2

     Gross receipts (before all                      $0.00
     deductions)
     Ordinary and necessary operating —              $0.00     —
     expenses
                                                                                     Copy
     Net monthly income from rental or               $0.00                           here -)        $0.00
     other real property

7.   Interest, dividends, and royalties                                                             $0.00

8.   Unemployment compensation                                                                       $0.00

     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here:      +

           For you                                                            $0.00

           For your spouse

9.   Pension or retirement income. Do not include any amount received that                           $0.00
     was a benefit under the Social Security Act. Also, except as stated in the
     next sentence, do not include any compensation, pension, pay, annuity, or
     allowance paid by the United States Government in connection with a
     disability, combat-related injury or disability, or death of a member of the
     uniformed services. If you received any retired pay paid under chapter 61
     of title 10, then include that pay only to extent that it does not exceed the
     amount of retired pay to which you would otherwise be entitled if retired
     under any provision of title 10 other than chapter 61 of that title.




Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income                                    page 2
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Debtor 1     Bridget Surgretta Taylor                                                    Case number (if known) 21-50289




10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act;
    payments made under the Federal law relating to the national emergency
    declared by the President under the National Emergencies Act
    (50 U.S.C. 1601 et seq.) with respect to the coronavirus disease 2019
    (COVID-19); payments received as a victim of a war crime, a crime against
    humanity, or international or domestic terrorism; or compensation, pension,
    pay, annuity, or allowance paid by the United States Government in
    connection with a disability, combat-related injury or disability, or death of a
    member of the uniformed services. If necessary, list other sources on a
    separate page and put the total below.




    Total amounts from separate pages, if any.

11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                   $6,622.00                                  $6,622.00
    Then add the total for Column A to the total for Column B.
                                                                                                                                    Total current
                                                                                                                                    monthly income


 Part 2:       Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

     12a.   Copy your total current monthly income from line 11                                    Copy line 11 here    4    12a.         $6,622.00

            Multiply by 12 (the number of months in a year).                                                                         X      12

     12b.   The result is your annual income for this part of the form.                                                     12b.         $79,464.00


13. Calculate the median family income that applies to you. Follow these steps:

     Fill in the state in which you live.                            Georgia


     Fill in the number of people in your household.                      1


     Fill in the median family income for your state and size of household                                                   13.         $52,458.00

     To find a list of applicable median income amounts, go online using the link specified in the separate
     instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

     14a.        Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                 Go to Part 3. Do NOT fill out or file Official Form 122A-2.
     14b.   171 Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                Go to Part 3 and fill out Form 122A-2.




Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                                page 3
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Debtor 1     Bridget Surgretta Taylor                                                        Case number (if known) 21-50289

 Part 3:          Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.



                                                                                  X
            ridget Surgretta aylor, Debtor 1                                          Signature of Debtor 2

           Date       i/O141,0         cgdi                                           Date
                   MM /DD MYYTY                                                              MM/ DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.

      If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                              page 4
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 Fill in this information to identify your case:                                                Check the appropriate box as directed
                                                                                                in lines 40 or 42:
 Debtor 1              Bridget                 Surgretta           Taylor
                       First Name              Middle Name         Last Name                    According to the calculation required by this
                                                                                                Statement:
 Debtor 2
 (Spouse, if filing) First Name                Middle Name         Last Name
                                                                                                        1. There is no presumption of abuse.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA
                                                                                                    0   2. There is a presumption of abuse.
 Case number           21-50289
 (if known)                                                                                     0       Check if this is an amended filing




Official Form 122A-2
Chapter 7 Means Test Calculation                                                                                                                  04/19

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form
122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:          Determine Your Adjusted Income

1.   Copy your total current monthly income                        Copy line 11 from Official Form 122A-1 here          —)          1.        $6,622.00

2.   Did you fill out Column B in Part 1 of Form 122A-1?

     Er     No. Fill in $0 for the total on line 3.

     o      Yes. Is your spouse filing with you?

            o     No. Go to line 3.

            o     Yes. Fill in $0 for the total on line 3.

3.   Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for
     the household expenses of you or your dependents. Follow these steps:

     On line 11, Column B of Form 122A-1, was any amount of the income you reported for your spouse NOT regularly used
     for the household expenses of you or your dependents?

     o      No. Fill in $0 for the total on line 3.

     o      Yes. Fill in the information below:




          Total                                                                           $0.00          Copy total here                 —        $0.00



4.   Adjust your current monthly income. Subtract the total on line 3 from line 1.                                                            $6,622.00




Official Form 122A-2                                         Chapter 7 Means Test Calculation                                                      page 1
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Debtor 1     Bridget Surgretta Taylor                                                    Case number (if known) 21-50289


 Part 2:       Calculate Your Deductions from Your Income

The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use
these amounts to answer the questions in lines 6-15. To find the IRS standards, go online using the link
specified in the separate instructions for this form. This information may also be available at the bankruptcy
clerk's office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will
use some of your actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted
from your spouse's income in line 3 and do not deduct any operating expenses that you subtracted from income in lines 5
and 6 of Form 122A-1.

If your expenses differ from month to month, enter the average expense.

Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A-1 is filled in.


 5.   The number of people used in determining your deductions from income

      Fill in the number of people who could be claimed as exemptions on your federal income tax
      return, plus the number of any additional dependents whom you support. This number may                       1
      be different from the number of people in your household.




 6.   Food, clothing and other items: Using the number of people you entered in line 5 and the IRS National Standards,                $715.00
      fill in the dollar amount for food, clothing, and other items.

 7.   Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National
      Standards, fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories--
      people who are under 65 and people who are 65 or older--because older people have a higher IRS allowance for
      health care costs. If your actual expenses are higher than this IRS amount, you may deduct the additional amount on
      line 22.




      7a.   Out-of-pocket health care allowance per person            $56.00

      7b.   Number of people who are under 65                  X             1

      7c. Subtotal. Multiply line 7a by line 7b.                      $56.00 Copy here -)                 $56.00




      7d. Out-of-pocket health care allowance per person             $125.00

      7e.   Number of people who are 65 or older               X

      7f. Subtotal. Multiply line 7d by line 7e.                        $0.00 Copy here -) +               $0.00

                                                                                                                    Copy total
                                                                                                                    here 4
      7g. Total. Add lines 7c and 7f                                                                      $56.00                7g.    $56.00




Official Form 122A-2                                   Chapter 7 Means Test Calculation                                                  page 2
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Debtor 1       Bridget Surgretta Taylor                                                        Case number (if known) 21-50289




 Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing
 for bankruptcy purposes into two parts:

 •     Housing and utilities -- Insurance and operating expenses
 •     Housing and utilities -- Mortgage or rent expenses

 To answer the questions in lines 8-9, use the U.S. Trustee Program chart.
 To find the chart, go online using the link specified in the separate instructions for this form. This chart may also be
 available at the bankruptcy clerk's office.

 8.     Housing and utilities -- Insurance and operating expenses: Using the number of people you entered in line 5,                  $535.00
        fill in the dollar amount listed for your county for insurance and operating expenses.

 9.     Housing and utilities -- Mortgage or rent expenses:

        9a.   Using the number of people you entered in line 5, fill in the dollar amount listed          $1,013.00
              for your county for mortgage or rent expenses.

        9b.   Total average monthly payment for all mortgages and other debts secured by
              your home.

              To calculate the total average monthly payment, add all amounts that are
              contractually due to each secured creditor in the 60 months after you file for
              bankruptcy. Then divide by 60.




                                                                                                                       Repeat this
                                                                                  Copy                                 amount on
                                  Total average monthly payment             $0.00 here                         $0.00
                                                                                                                       line 33a.

        9c.   Net mortgage or rent expense.
                                                                                                                       Copy
              Subtract line 9b (total average monthly payment) from line 9a (mortgage or                  $1,013.00    here          $1,013.00
              rent expense). If this amount is less than $0, enter $0.


 10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect
     and affects the calculation of your monthly expenses, fill in any additional amount you claim.

        Explain
        why:


 11.    Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
        El    0. Go to line 14.
        IZI   1. Go to line 12.
        El    2 or more. Go to line 12.

 12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the                      $231.00
     operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.




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Debtor 1    Bridget Surgretta Taylor                                                    Case number (if known) 21-50289

 13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease
     expense for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on
     the vehicle. In addition, you may not claim the expense for more than two vehicles.


                       Describe Vehicle 1:    2015 Dodge Ram




      13a. Ownership or leasing costs using IRS Local Standard.                                       $521.00

      13b. Average monthly payment for all debts secured by Vehicle 1.

           Do not include costs for leased vehicles.

           To calculate the average monthly payment here and on line 13e, add all
           amounts that are contractually due to each secured creditor in the 60 months
           after you filed for bankruptcy. Then divide by 60.




           Atlanta Postal Credit Union                                $429.00


                                                                                                                  Repeat this
                                                                                   Copy                           amount on
                             Total average monthly payment            $429.00      here 4     —        $429.00
                                                                                                                  line 33b.

                                                                                                               Copy net
                                                                                                               Vehicle 1
      13c. Net Vehicle 1 ownership or lease expense.                                                           expense
           Subtract line 13b from line 13a. If this amount is less than $0, enter $0.                   $92.00 here —)              $92.00


                       Describe Vehicle 2:




      13d. Ownership or leasing costs using IRS Local Standard.

      13e. Average monthly payment for all debts secured by Vehicle 2. Do not include
           costs for leased vehicles.




                                                                                                                  Repeat this
                                                                                   Copy                           amount on
                             Total average monthly payment                         here 4      —                  line 33c.

                                                                                                                  Copy net
                                                                                                                  Vehicle 2
      13f. Net Vehicle 2 ownership or lease expense.                                                              expense
           Subtract line 13e from 13d. If this amount is less than $0, enter $0.                                  here —)            $0.00


 14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public          $0.00
     Transportation expense allowance regardless of whether you use public transportation.




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Debtor 1    Bridget Surgretta Taylor                                                      Case number (if known) 21-50289

 15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may                $0.00
     also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
     not claim more than the IRS Local Standard for Public Transportation.




 16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes,             $1,583.00
     self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
     your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
     and subtract that number from the total monthly amount that is withheld to pay for taxes.

      Do not include real estate, sales, or use taxes.

 17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,              $0.00
     union dues, and uniform costs.

      Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.


 18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are                  $0.00
     filing together, include payments that you make for your spouse's term life insurance. Do not include premiums for life
     insurance on your dependents, or a non-filing spouse's life insurance, or for any form of life insurance other than
     term.

 19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative                  $0.00
     agency, such as spousal or child support payments.

      Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

 20. Education: The total monthly amount that you pay for education that is either required:                                              $0.00
     • as a condition for your job, or
     • for your physically or mentally challenged dependent child if no public education is available for similar services.

 21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.                $0.00
     Do not include payments for any elementary or secondary school education.

 22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that                     $0.00
     is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
     health savings account. Include only the amount that is more than the total entered in line 7.
     Payments for health insurance or health savings accounts should be listed only in line 25.

 23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services                     $0.00
     for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
     phone service, to the extent necessary for your health and welfare or that of your dependents or for the production
     of income, if it is not reimbursed by your employer.

      Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
      expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.

 24. Add all of the expenses allowed under the IRS expense allowances.
     Add lines 6 through 23.                                                                                                          $4,225.00




Official Form 122A-2                                      Chapter 7 Means Test Calculation                                                 page 5
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Debtor 1         Bridget Surgretta Taylor                                                   Case number (if known) 21-50289

                                                      0,0ittorigit   •duotic)risallo
                                                      Oi'1:001000      ex e, 0"

  25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
      insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your
      spouse, or your dependents.


        Health insurance                                             $746.00

        Disability insurance                                           $0.00

        Health savings account                                         $0.00


        Total                                                        $746.00    Copy total here   +                                   $746.00


        Do you actually spend this total amount?

        El      No. How much do you actually spend?

                Yes

  26. Continuing contributions to the care of household or family members. The actual monthly expenses that you                       $500.00
      will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled
      member of your household or member of your immediate family who is unable to pay for such expenses. These
      expenses may include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).


  27.   Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the                    $0.00
        safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

        By law, the court must keep the nature of these expenses confidential.


  28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses
      on line 8.

        If you believe that you have home energy costs that are more than the home energy costs included in expenses on
        line 8, then fill in the excess amount of home energy costs.

        You must give your case trustee documentation of your actual expenses, and you must show that the additional
        amount claimed is reasonable and necessary.

 29.    Education expenses for dependent children who are younger than 18. The monthly expenses (not more than                          $0.00
        $170.83* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
        public elementary or secondary school.

        You must give your case trustee documentation of your actual expenses, and you must explain why the amount
        claimed is reasonable and necessary and not already accounted for in lines 6-23.

        " Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.


 30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
     higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
     than 5% of the food and clothing allowances in the IRS National Standards.

        To find a chart showing the maximum additional allowance, go online using the link specified in the separate
        instructions for this form. This chart may also be available at the bankruptcy clerk's office.

        You must show that the additional amount claimed is reasonable and necessary.


 31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial      .4.   $600.00
     instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).




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  32. Add all of the additional expense deductions.
      Add lines 25 though 31.                                                                                                       $1,846.00




  33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
      loans, and other secured debt, fill in lines 33a through 33e.

       To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
       the 60 months after you file for bankruptcy. Then divide by 60.

                                                                                              Average monthly
                                                                                              payment
             Mortgages on your home:

       33a. Copy line 9b here                                                                 4          $0.00

             Loans on your first two vehicles:

       33b. Copy line 13b here                                                                        $429.00

       33c. Copy line 13e here                                                                           $0.00

       33d. List other secured debts:




                                                                                   El No
                                                                                   El Yes

                                                                                   El No
                                                                                   El Yes

                                                                                   El No
                                                                                   El Yes
                                                                                                                   Copy total
      33e.   Total average monthly payment. Add lines 33a through 33d                                 $429.00      here              $429.00

  34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property
      necessary for your support or the support of your dependents?

      El No. Go to line 35.
      10 Yes. State any amount that you must pay to a creditor, in addition to the
              payments listed in line 33, to keep possession of your property (called
              the cure amount). Next, divide by 60 and fill in the information below.




                                                                                     +60 =

                                                                                     +60 =

                                                                                     + 60 =

                                                                                                                   Copy total
                                                                                      Total              $0.00                         $0.00
                                                                                                                   here 4




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  35. Do you owe any priority claims such as a priority tax, child support, or
      alimony --that are past due as of the filing date of your bankruptcy case?
      11 U.S.C. § 507.
            No. Go to line 36.
       0    Yes. Fill in the total amount of all of these priority claims. Do not include
                 current or ongoing priority claims, such as those you listed in line 19.

                  Total amount of all past-due priority claims                                                             + 60 =           $0.00

  36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
      For more information, go online using the link for Bankruptcy Basics specified in the separate
      instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.

      IZI No. Go to line 37.
      0   Yes. Fill in the following information.

                  Projected monthly plan payment if you were filing under Chapter 13

                  Current multiplier for your district as stated on the list issued by the
                  Administrative Office of the United States Courts (for districts in Alabama
                  and North Carolina) or by the Executive Office for United States Trustees
                  (for all other districts).
                                                                                                          X
                  To find a list of district multipliers that includes your district, go online using
                  the link specified in the separate instructions for this form. This list may
                  also be available at the bankruptcy clerk's office.

                                                                                                                           Copy total
                  Average monthly administrative expense if you were filing under Chapter 13                               here —)

 37. Add all of the deductions for debt payment.
     Add lines 33e through 36.                                                                                                           $429.00




 38. Add all of the allowed deductions.

      Copy line 24, All of the expenses allowed under IRS
      expense allowances                                                   $4,225.00

      Copy line 32, All of the additional expense deductions               $1,846.00
      Copy line 37, All of the deductions for debt payment          +        $429.00


      Total deductions                                                     $6,500.00        Copy total here      .4                     $6,500.00


 Part 3:       Determine Whether There Is a Presumption of Abuse
 39. Calculate monthly disposable income for 60 months

      39a. Copy line 4, adjusted current monthly income                    $6,622.00

      39b. Copy line 38, Total deductions                           —      $6,500.00

                                                                                          Copy
      39c. Monthly disposable income. 11 U.S.C. § 707(b)(2).                 $122.00 here —)                     $122.00
           Subtract line 39b from line 39a.

             For the next 60 months (5 years)                                                             x 60

                                                                                                                           Copy
      39d. Total. Multiply line 39c by 60                                                          39d.       $7,320.00 here .4         $7,320.00




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 40. Find out whether there is a presumption of abuse. Check the box that applies:

      121 The line 39d is less than $8,175*. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

      El The line 39d is more than $13,650*. On the top of page 1 of this form, check box 2, There is a presumption of abuse.
             You may fill out Part 4 if you claim special circumstances. Then go to Part 5.

      El The line 39d is at least $8,175*, but not more than $13,650*. Go to line 41.

             *Subject to adjustment on 4/01/22, and every 3 years after that for cases filed on or after the date of adjustment.

 41. 41a.     Fill in the amount of your total nonpriority unsecured debt. If you filled out
              A Summary of Your Assets and Liabilities and Certain Statistical Information Schedules
              (Official Form 106Sum), you may refer to line 3b on that form.

                                                                                                           x .25

      41b.    25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(1).                                Copy
              Multiply line 41a by 0.25.                                                                                   here

 42. Determine whether the income you have left over after subtracting all allowed deductions
     is enough to pay 25% of your unsecured, nonpriority debt.
      Check the box that applies:

      El Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

      El Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption of abuse.
             You may fill out Part 4 if you claim special circumstances. Then go to Part 5.


 Part 4:        Give Details About Special Circumstances

 43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for
     which there is no reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

             No.    Go to Part 5.

      El     Yes.   Fill in the following information. All figures should reflect your average monthly expense or income adjustment
                    for each item. You may include expenses you listed in line 25.

                    You must give a detailed explanation of the special circumstances that make the expenses or income
                    adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
                    expenses or income adjustments.




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 Part 5:          Sign Below


      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.




                                                                               X
            ridget Surgre ta Taylor, Debtor 1
                ItUTA                                                              Signature of Debtor 2


           Date   03/C7        01.0/                                               Date
                   MM/ DD / YYY                                                           MM / DD / YYYY




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